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 4   (702) 472-8686
     leventhalandassociates@gmail.com
 5   Attorney for Christopher Guoin
 6
                                     UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
 9
     UNITED STATES OF AMERICA,           )
10                                       )                 2:16-CR-0296-JAD-PAL
                       Plaintiff,        )
11                                       )                 STIPULATION TO CONTINUE
           vs.                           )                 SENTENCING AND DISPOSITION
12                                       )
      CHRISTOPHER GUOIN,                 )
13                                       )
                       Defendant.        )
14   ____________________________________)
15
             IT IS HEREBY STIPULATED AND AGREED by and between Defendant,
16
     CHRISTOPHER GUOIN, by and through his counsel, TODD M. LEVENTHAL, ESQ., and the
17
     United States of America, by its counsel, SUSAN CUSHMAN, Assistant U.S. Attorney, that the
18
     Sentencing and Disposition in the above-captioned matter currently set for Monday September 11,
19
     2017 be reset for at least 2 weeks during the week of September 18-22, 2017 or September 25-29,
20
     2017.
21
             This Stipulation is entered into for the following reasons
22
             1.     Mr. Leventhal is in Trial for U.S. vs. Levine, and will not be available.
23
             2.     Mr. Leventhal will commence another trial in October, U.S. vs. Bundy et al, that is
24
                    expected to last from 7 to 12 weeks. Therefore, the parties request that the matter
25
                    be reset for the week of September 18-22 or September 25-29 at a time convenient
26
                    for the court.
27
28
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 1      3.    Mr. Guoin is currently in custody and agrees with this request.
 2      4.    Mr. Leventhal has spoken to SUSAN CUSHMAN, Assistant United States
 3            Attorney, and she has no objection to continue the hearing.
 4      5.    Additionally, denial of this request for a continuance could result in a miscarriage
 5            of justice.
 6
 7      DATED this 7th day of September, 2017.
 8
 9 ___/s/ Todd M. Leventhal                                ___/s/ Susan Cushman
   TODD M. LEVENTHAL, ESQ.                                  SUSAN CUSHMAN
10 Counsel for Mr. Gouin                                    Assistant U.S. Attorney
11
12
        Submitted By: LEVENTHAL & ASSOCIATES, PLLC
13
14
                                                    By:        /s/ Todd M. Leventhal
15
                                                            TODD M. LEVENTHAL, ESQ.
16                                                          Leventhal & Associates, PLLC
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17                                                          California Bar No. 223577
                                                            626 S. 3rd Street
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                                                            T: 702-472-8686
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                                                            Attorney for: Mr. Gouin
20
21
22
23
24
25
26
27
28
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 5 Attorney for Christopher Guoin
 6
 7                                 UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9
10 UNITED STATES OF AMERICA,             )
                                         )           2:16-CR-0296-JAD-PAL
11                     Plaintiff,        )
                                         )
12         vs.                           )
                                         )
13   CHRISTOPHER GUOIN,                  )
                                         )
14                     Defendant.        )
     ____________________________________)
15
16                                       FINDINGS OF FACT
17         Based on the stipulation of counsel, and good cause appearing, the Court finds that:
18
19         1.     Mr. Leventhal is in Trial for U.S. vs. Levine, and will not be available.
20         2.     Mr. Leventhal will commence another trial in October, U.S. vs. Bundy et al, that is
21                expected to last from 7 to 12 weeks. Therefore, the parties request that the matter
22                be reset for the week of September 18-22 or September 25-29 at a time convenient
23                for the court.
24         3.     Mr. Guoin is currently in custody and agrees with this request.
25         4.     Mr. Leventhal has spoken to SUSAN CUSHMAN, Assistant United States
26                Attorney, and she has no objection to continue the hearing.
27 ////
28 ////
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 1           5.      Additionally, denial of this request for a continuance could result in a miscarriage
 2                   of justice.
 3                                        CONCLUSIONS OF LAW
 4           1.    For all the above-stated reasons, the ends of justice would best be served by granting
 5
                   the requested continuance of the current Sentencing date to either the week of
 6
                   September 18 through 22 or September 25 through 29 at a time convenient for the
 7
                   court.
 8
 9                                                   ORDER

10                 Accordingly, IT IS SO ORDERED that the current Sentencing of Mr. Guoin is

11 vacated and the same is continued and reset for ______ day ___________,
                                                   September   29, 2017, at 2017, at the
                                                                            the hour  of hour
                                                                                         10:00ofa.m.

12 __________, in Courtroom # ____.
13
              9/8/2017                               __________________________________
14                                                   JENNIFER A. DORSEY
                                                     UNITED STATES DISTRICT JUDGE
15
16                                      CERTIFICATE OF SERVICE

17           I hereby certify that on the 7th day of September, 2017 a true and correct copy of the,

18
     STIPULATION AND ORDER TO CONTINUE SENTENCING AND DISPOSITION
19
     was filed through the CM/ECF filing system and was electronically served to the following
20
     registered addresses on file for this instant case :
21
22
23 Susan Cushman: susan.cushman@usdoj.gov, Christie.M.Sequeira@usdoj.gov,
   USANV.team3@usdoj.gov, caseview.ecf@usdoj.gov, denise.cope@usdoj.gov
24
25
                                               /s/ Todd M. Leventhal
26
                                             An Employee of TODD M. LEVENTHAL, ESQ.
27                                           LEVENTHAL AND ASSOCIATES, PLLC.

28
